Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 1 of 15
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 2 of 15
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 3 of 15




      Exhibit 1
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 4 of 15
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 5 of 15




      Exhibit 2
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 6 of 15
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 7 of 15
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 8 of 15




      Exhibit 3
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 9 of 15




      DOCUMENT REDACTED
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 10 of 15




      Exhibit 4
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 11 of 15




       DOCUMENT REDACTED
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 12 of 15




      Exhibit 5
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 13 of 15




       DOCUMENT REDACTED
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 14 of 15




      Exhibit 6
Case 8:17-cv-01955-GJH Document 66-1 Filed 05/07/18 Page 15 of 15




       DOCUMENT REDACTED
